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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    CASE NO.: 1:20-cv-22800-RNS

  DIEGO AGNELLI,

          Plaintiff,

  v.

  LENNOX MIAMI CORP.,
          Defendant.


    PLAINTIFF’S MOTION FOR A ONE MONTH CONTINUANCE OF TRIAL AS A
   RESULT OF THE DENIAL OF PLAINTIFF’S VISA APPLICATION AND REQUEST
    FOR EXPEDITED RESOLUTION ON NEW VISA APPLICATION CURRENTLY
  PENDING OR, IN THE ALTERNATIVE, IN FURTHER SUPPORT OF BIFURCATION
            AND REQUEST FOR EXPEDITED BRIEFING SCHEDULE

         Plaintiff Diego Agnelli (“Agnelli”) respectfully requests that the Court enter an order (1)

  briefly continuing the trial and Calendar Call in this action; and (2) compelling Agnelli’s physical

  presence at trial. Given the quickly approaching trial and pretrial deadlines, Agnelli also requests

  that this Court permit an expedited briefing schedule and require Lennox to respond to this Motion

  within four (4) days. As set forth below, Agnelli does not seek (or want) to unnecessarily delay

  the trial of this matter, but rather seeks a continuance in order to allow him the additional time that

  his immigration attorney believes Agnelli will need to successfully obtain approval to enter the

  United States to physically attend this trial and the trial in his divorce proceeding, scheduled for

  June 2022. In support, Agnelli states:

          A.     The Court Should Grant a Brief Continuance To Allow Agnelli To Request
                 Expedited Review of his New Visa Application and Issue an Order Compelling
                 Agnelli’s Physical Attendance at Trial

         1.      As the Court is aware, in November 2021 Agnelli traveled to Argentina to receive

  a stamp on an O-1 Visa but, upon arrival at the U.S. Embassy in Buenos Aires, was informed there
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  was an issue with the visa and his previous B-1/B-2 visitor visa was revoked. As a result, Agnelli

  has been denied entry to the United States since, pending resolution of the immigration matter. See

  Exhibit A, Decl. of Leon Fresco at ¶ 5.

         2.      Consequently, on December 15, 2021 Agnelli filed a Motion to Continue Trial,

  seeking a brief extension to allow him time to address and resolve the issues with his immigration

  status. See Plaintiff’s Motion to Continue Trial and Request for Expedited Hearing [ECF No. 84].1

  On December 23, 2021 the Court continued the trial to the two-week trial period beginning March

  28, 2022 [ECF No. 87].

         3.      Agnelli and his immigration counsel were in contact with the immigration

  authorities through the months of December 2021 and January 2022 and made every effort to

  expedite review of Agnelli’s immigration status. Exhibit A, Decl. of Leon Fresco at ¶ 6.

         4.      On February 4, 2022, the U.S. Embassy in Buenos Aires, however, informed

  Agnelli that his application for the O-1 Visa was denied under section 214(b) of the U.S.

  Immigration and Nationality Act (INA). In its notice to Agnelli, the Embassy stated that a denial

  under Section 214(b) means that Agnelli did not meet the requirements of the classification of the

  nonimmigrant visa for which he applied and that USCIS’s decision cannot be appealed. See Exhibit

  B; see Exhibit A, Decl. of Leon Fresco at ¶ 7.

         5.      Because it is his continued priority to return to the United States for trial, shortly

  thereafter, on February 15, 2022 Agnelli applied for a B1/B2 Business and Tourism (Temporary

  Visitor) Visa. However, the interview date given to Agnelli is May 31, 2023 — a year and three

  months from now. See Exhibit C; see also Exhibit A, Decl. of Leon Fresco at ¶ 8.




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   Agnelli incorporates the arguments made in his prior Motion to Continue Trial herein. See [ECF
  No. 84].

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         6.      In light of the above, at the moment Agnelli is unable to return to the United States

  for trial in this matter set for the two-week trial period beginning March 28, 2022.

         7.      Nevertheless, because Agnelli needs to be in the United States for both this trial

  and his divorce trial (which is set for trial in June 2022), Agnelli intends to file, and is working

  on, a request with the immigration authorities for expedited review of his B1/B2 Visa application.

  Immigration counsel estimates the expedited review process, if granted, could take three (3) to six

  (6) weeks. See Exhibit A, Decl. of Leon Fresco at ¶¶ 9, 10.

         8.      Immigration counsel also believes that the Order requested in this Motion

  (compelling Agnelli’s presence at his trial) would strongly support Agnelli’s efforts to expedite

  the B1/B2 Visa application that is currently pending. See, e.g., Dept. of State, 9 Foreign Affairs

  Manual (FAM) § 402.2-2(F) (“You should, where appropriate, expedite applications for the

  issuance of a visitor visa if the issuance is consistent with U.S. immigration laws and regulations

  . . . You should give particular attention to applicants traveling to the United States to attend

  conferences, conventions, or meetings on specific dates.”); see Exhibit A, Decl. of Leon Fresco at

  ¶¶ 9, 11–14.

         9.      A similar order is being requested from Honorable Judge George A. Sarduy, the

  judge presiding over the divorce proceeding between Agnelli and Analia Castellanos—again,

  scheduled for trial in June 2022.

         10.     Taking into account the amount of time that Immigration Counsel reasonably

  believes could be necessary for the U.S. immigration authorities to act on Agnelli’s petition that

  his visa application be expedited, Agnelli respectfully requests that the Court grant a brief one (1)




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  month2 continuance of trial to allow for the expedited review process to be considered and

  addressed.3

         11.     Relatedly, and as stated above, Agnelli also respectfully asks the Court to enter an

  Order requiring Agnelli’s presence for his trial. An Order from the Court to this effect is necessary

  to support Agnelli’s request for an expedited review of his application. See Exhibit A, Decl. of

  Leon Fresco at ¶¶ 11–14. Without it, the chances that the immigration authorities will grant

  Agnelli’s request are not high. See id. at ¶ 14. Agnelli has attached a proposed order for the Court’s

  consideration to this effect. See Exhibit D.

         B.      In the Alternative, the Court Should Consider the Above Developments on
                 Agnelli’s Immigration Status and Grant Agnelli’s Motion for Bifurcation

         12.     Agnelli’s O-1 Visa application was denied, and absent expedited review of

  Agnelli’s new B1/B2 Visa application, Agnelli will not be able to return to the United States in

  time for a trial in the next few months. As explained in Agnelli’s prior Motion to Continue (ECF

  No. 84), it would be fundamentally unfair and prejudicial to Agnelli if he were not physically

  present in the United States to both prepare for and attend trial.

         13.     Notwithstanding the above, Agnelli is prepared to go forward on March 28, 2022

  with a limited trial or evidentiary hearing on his claim for Judicial Dissolution of Lennox Miami

  Corp., which relates to the valuation of Agnelli’s shares of the company. As explained in Agnelli’s

  Motion for Bifurcation (ECF No. 68), the limited trial on the issues relating to the valuation of



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   Given that the current trial date is March 28, 2022 a one-month continuance would likely mean
  Calendar Call and Trial in this matter would be set for the last week of April or first week of May.
  The undersigned respectfully notifies the Court that trial counsel in this matter, J. Raul Cosio, is
  unavailable from May 29, 2022 until mid-June.
  3
   While the granting a continuance of trial is limited to exceptional circumstances, see S.D. Local
  Rule 7.6, a court cannot deny a continuance where the need for one is warranted. See Gastaldi v.
  Sunvest Resort Communities, LLC, 709 F. Supp. 2d 1284, 1291 (S.D. Fla. 2010).

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  Agnelli’s shares of Lennox Miami Corp. is expected to center around the testimony of four (4)

  valuation expert witnesses. Unlike the other claims at issue, the valuation claims do not require

  Agnelli’s in-person preparation with counsel, testimony or physical attendance in court.

         14.     Therefore, in the alternative to a continuance of the full trial, Agnelli respectfully

  requests the Court bifurcate trial, allowing the parties to proceed with phase one to address only

  the valuation of Agnelli’s 12.5% shares in Lennox Miami Corp. during the March 28, 2022 trial

  period and allowing phase two, the adjudication of the issues surrounding the employment claims,

  to be tried at a later date when Agnelli is able to return to the United States.

         WHEREFORE, Plaintiff respectfully requests that the Court (1) grant a continuance of

  one month for the trial and Calendar Call in this action to allow Agnelli time to seek expedited

  review of his application, return to the United States, and prepare for trial; (2) enter the attached

  Proposed Order compelling Agnelli’s physical attendance at trial so that Agnelli may submit it in

  support of his request for expedited review of his visa application. In the alternative, Plaintiff

  respectfully renews his request that the Court grant his Motion for Bifurcation [ECF No. 68].

  Lastly, in light of fast-approaching trial and pre-trial deadlines, Agnelli respectfully requests that

  this Court permit an expedited briefing schedule and require Lennox to respond to this Motion

  within four (4) days.

                                 CERTIFICATE OF CONFERRAL

         In accordance with Local Rule 7.1(a)(3), the undersigned certifies having conferred with

  counsel for Defendant, who opposes the relief requested herein.


         Respectfully submitted,                         HOLLAND & KNIGHT LLP
                                                         701 Brickell Avenue, Suite 3300
                                                         Miami, Florida 33131




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                                             s/Raul Cosio
                                             Jesus E. Cuza
                                             Florida Bar No. 42899
                                             jesus.cuza@hklaw.com
                                             J. Raul Cosio
                                             Florida Bar No. 503630
                                             raul.cosio@hklaw.com
                                             Brian H. Koch
                                             Florida Bar No. 637335
                                             brian.koch@hklaw.com
                                             Annelise Del Rivero
                                             Florida Bar No. 1003234
                                             annelise.delrivero@hklaw.com
                                             Attorneys for Plaintiff


                              CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that the foregoing was served on February 22, 2022 via

  CMECF electronic filings.

                                             /s/ Raul Cosio
                                             Raul Cosio




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